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Case 2:10-cv-07642-JHN-PLA Document 1 Filed 10/13/10 Page 1 of 11 ‘eel ID #:

C

Todd M. Friedman (216752)
Law Offices of Todd M. Friedman, P.C.

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369 S. Doheny Dr. #415 “5 3
Beverly Hills, CA 90211 oPe S
Phone: 877 206-4741 ve
Fax: 866 633-0228 / ea °°
tfriedman@attorneysforconsumers.com | 495 =
Attorney for Plaintiff “og

a5 =

 

 

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

|
LANCE R. GALLARDO, » cAGMI1O 7642 “4M4A
)
Plaintiff, COMPLAINT FOR VIOLATION
) OF|FEDERAL FAIR DEBT
vs. ) COLLECTION PRACTICES ACT
) AND ROSENTHAL FAIR DEBT
CENTRAL CREDIT SERVICES, _) COLLECTION PRACTICES ACT
INC.,
)
Defendant. )
)

 

I. INTRODUCTION

1. This is an action for damages brought by an individual consumer for
Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
§1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection
Practices Act, Cal Civ Code §1788, et seg. (hereinafter “RFDCPA”), both of

which prohibit debt collectors from engaging|in abusive, deceptive, and unfair

practices.

 

Complaint- 1!

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Il. JURISDICTION

2. Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).
HI. PARTIES
3. Plaintiff, Lance R. Gallardo (‘Plaintiff’), is a natural person residing
in Los Angeles county in the state of California, and is a “consumer” as defined
by the FDCPA, 15 U.S.C. §1692a(3) and is |a “debtor” as defined by Cal Civ
Code §1788.2(h).
4, At all relevant times herein, Defendant, Central Credit Services, Inc.
(“Defendant”) was a company engaged, by use of the mails and telephone, in the
business of collecting a debt from Plaintiff which qualifies as a “debt,” as defined
by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by Cal Civ Code
§1788.2(f). Defendant regularly attempts to collect debts alleged to be due
another, and therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).

IV. FACTUAL ALLEGATIONS

5, At various and multiple times prior to the filing of the instant
complaint, including within the one year preceding the filing of this complaint,
Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.
6. On more than one occasion, Defendant contacted Plaintiff at a phone

number associated with his work.

Complaint - 2

 

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7, On or about January 26, 2010; Plaintiff sent Defendant a letter
requesting a cease and desist of all further contact in connection with collecting
the alleged debt from his home phone number and his work phone number. A true
and correct copy of the letter is attached hereto as Exhibit “A”.

8. On average, Plaintiff received more than two collections calls per

day and more than ten collections calls per week.
9, Defendant’s conduct violated the FDCPA and the RFDCPA in

multiple ways, including but not limited to:

a) Placing (a) telephone call(s) [to Plaintiff without
disclosure of the caller's true identity or a registered
alias name along with the name of the agency
authorizing the call (Cal Civ Code §178811(b));

b) Causing a telephone to ring repeatedly or continuously
to annoy Plaintiff (Cal Civ Code §1788. 11(d)); and

c) Communicating with Plaintiff at times or places which
were known or should have [been known to be
inconvenient for Plaintiff, including calling plaintiff at
work (§1692c(a)(1)).

 

10. As a result of the above violations of the FDCPA and RFDCPA
Plaintiff suffered and continues to suffer injury to Plaintiffs feelings, personal
humiliation, embarrassment, mental anguish and emotional distress, and
Defendant is liable to Plaintiff for Plaintiff's actual damages, statutory damages,

and costs and attorney’s fees.
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Complaint - 3

 

 
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COUNT I: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT

11. Plaintiff reincorporates by reference all of the preceding paragraphs.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:
A. Declaratory judgment that Defendant’s conduct

violated the FDCPA;
B. Actual damages;

Statutory damages;

 

Cc
D. Costs and reasonable attorney’s fees; and,
E

For such other and further relief as may be just and proper.

COUNT I: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

12. Plaintiff reincorporates by reference all of the preceding paragraphs.
13. To the extent that Defendant’s actions, counted above, violated the
RFDCPA, those actions were done knowingly and willfully
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:
A. Declaratory judgment that Defendant’s conduct

violated the RFDCPA;

Complaint - 4

 

 
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Actual damages;
Statutory damages for willful and negligent violations;

Costs and reasonable attorney’s fees,

moo ®

For such other and further relief as may be just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

Respectfully submitted this 8th day of October, 2010.

 

By: L

“goon M:¥RIEDMAN (216752)
LAW OFFICES OF TODD M.

FRIEDMAN, P.C.

369 S, Doheny Dr. #415

Beverly Hills, CA 90211

Phone: 877 206-4741

Fax: 866 633-0228

tfriedman@attorneysforconsumers.com
Attorney for Plaintiff

Complaint - 5

 

 
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EXHIBIT “A”

 
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07/16/2018 13:22 6612556791 LAWGALLARDO PAGE 46

24405 Chestnut St., Suite 203
Law Offices of Santa Clarita, CA 91321
Lance R. Gallardo* Phone (661) 259- 4905 (818) 838-9113

FAX (661) 255-6791

 

 

Central Credit Services(“CCS”)

9550 Regency Square Blvd., Suite 500
Jacksonville, FL 32225

Phone: (972) 512-950

Your Account #5421556

RE: Constant collection phone calls from agents of CCS (from phone number 702-520-9113) to my home phone
number (661-799-2592) and my business/work/day mumber (661) 259-4905 to collect on alleged debts owed by
me to:

Chase Bank Visa (formerly Circuit CITY ACCOUNT)# 4104-1400-2327-5572
Chase Bank (formerly Washington Mutual) MasterCard 454 16-5780-0108-8105

To whom it may concem:

 

Tam writing in response to your constant and harassing phone calls to both my home number (661-799-2592)
and my work (place of employment) phone number (661) 259-4995)!

According to the Fair Debt Collection Practicas Act, [15 USC 1692c] Section 805(c): CEASING
COMMUNICATION: You must cease all communication with me after being notified in writing that I no longer
wish to communicate with you. Therefore, I demand that you stop calling me at home, at work, on my cell
phone or at any other location!

In accordance with the Federal FOCPA, now that you have received this “stop calling" ietter, you may only
contact me to inform me that you:

-are terminating further collection efforts;
«invoking specified remedies whicb are ordinarily invoked by you or your company; or
-intend to invoke a specified remedy.

Be advised that J am well aware of my rights! For instance, I know that any future contact by you or your
company violates the FOCPA and that since you already have my location information, calls made by you or your
company to any 3rd party concerning me violates section 805(b)2 of the FDCPA.

[ have now notified you in writing, that I want no further communications with any employee of
Central Credit Services, Chase bank employee, or any debt collection agency employed by Chase. Your
only LEGAL recourse is to sue me in a California State Superior Court to recover whatever money you

*Licensed to practice law in all federal immigration matters - 8 CFR 1.1(f, Admitted to practice
law before the US Court of Appeals for the Ninth Circult' US Court of Military Appeals, all US
Military Courts Martial, Art. 27(b} UCMJ, US District Court for the Northern District of California,
Active Member in good standing, Nebraska State Bar Association. (402) 475 - 7051 Attorney
#19295 Admitted Attomey since September 14, 1990. Former Captain, US Marines.
Case 2:10-cv-07642-JHN-PLA Document 1 Fildd 10/13/10 Page 8of11 Page ID #12
87/15/2018 13:22 6612556791 LAWGALL ARDO PAGE 67

Tuesday, January 26, 2010

think [ ewe CCS or Chase Bank. Please be advised that I WILL gue both CCS and Chase Bank for any
available remedies under California Law or Federal law for any violations of California or Federal
Consumer Laws, and/or any torts relating to illegal and harassing debt collection activities. In addition, I
will report your illegal collections activites to the California Attorney General, the State Atomey
General's Office, and the Federal Trade Commission.

According to the California Fair Debt Collections Practices Act, (which applies to BOTH DEBT
COLLECTION AGENCIES, SUCH AS CCS {and all their employees), AND ORIGINAL CREDITORS ,
SUCH AS CHASE BANK and their employees, See Legal Guide DC-2, CALIFORNIA DEPARTMENT OF
CONSUMER AFFAIRS, B&P § 6077.5(a)), the California standards for debt collection attorneys require
attorneys and their employees to comply with (4) all of the provisions of the California Fair Debt Collection
Practices Act, and (b) some of the provisions of the federal statute (In particular, 15 USC §§ 1692c).

Fair Debt Collection Practices Act, [15 USC 1692c] Section 805(c):

CEASING COMMUNICATION: You must cease all communication with me after being notified in writing that
Ino Jonger wish to communicate with you. Therefore, I demand that you stop calling me at home, at work, on
my cell phone or at any other location!

Be advised that I am keeping accurate records of all phone calls and correspondence from CCS and CHASE
BANK, If your employees continue calling me after receiving this certified letter, I will pursue all available legal
actions to step you from harassing my co-workers, my family, an and myself.

Sincerely,

Lance R. Gallardo
Law Offices of Lance R. Gallardo

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- _* Case 2:10-cv-07642-JHN-PLA, Document 1 Filed 10/13/10 Pace ays 11 Page ID #:13

Todd M. Friedman, Esq.
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369 S. Doheny Dr., #415 LD ORIGINAL
Beverly Hills, CA 90211
Phone: 877-206-474 |
Fax: 866-633-0228

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LANCE R. GALLARDO, CASE!NUMBER

PLAINTIFF(S)
¥.

CENTRAL CREDIT SERVICES, INC.

 

SUMMONS

DEFENDANT(S).

 

TO: DEFENDANT(S): CENTRAL CREDIT SERVICES, INC.
|

A lawsuit has been filed against you.

 

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached of complaint Oo amended complaint
C counterclaim UO cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Todd M. Friedman , whose address is
Law Offices of Todd M. Friedman, 369 S. Doheny Dr., #415, Beverly Hills, CA 90211. If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

OCT 13 2010 CHRISTOPHER POWERS
Dated: By:

 

Deputy Clerk

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency. \or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-OA (12/07) SUMMONS

 
Case 2:10-cv-07642-JHN-PLA Document1 Filed 10/13/10 Page 10.9f 11 Page ID#:14

. UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

|
DEFENDANTS
CENTRAL CREDIT SERVICES, INC.

1 (a) PLAINTIFFS (Check box if you are representing yourse!f 0)
LANCE R. GALLARDO

 

* . |
(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing Attorneys (If Known)

yourself, provide same.)
Todd M. Friedman, Esq, Law Offices of Todd M. Friedman, P.C.
369 S. Doheny Dr., #415, Beverly Hills, CA 90211

 

 

iL. BASIS OF JURISDICTION (Place an X in one box only.) i, CIFIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
O11 U.S, Government Plaintiff w3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State O61 O1 Incorporated or Principal Place O14 O14
of Business in this State
O2US, Government Defendant 014 Diversity (Indicate Ciuzenship | Citizen of Another State O12 G2 Incorporated and Principal Place O15 O85
of Parties in Item 11) of Business in Another State
Citizen or Subject of a Foreign Country O13 O03 _ Foreign Nation O68 06

 

 

IV, ORIGIN (Piace an X in one box only.)

wm) Original 2 Removed from O13 Remandedfrom [4 Reinstated or O15 Transferred from another district (specify): O6 Mutti- O07 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

¥. REQUESTED IN COMPLAINT: JURY DEMAND: i Yes 0 Nao (Check ‘¥es* only if demanded in complaint}

CLASS ACTION under F.R.C.P, 23: (4 Yes No

O MONEY, DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
15 USC 1692 Violation of the Fair Debt Collection Practices Act
VIL NATURE OF SUIT (Place an X in one box only.)

|

 

 

 

   

 

    

 

: T
i" “OTHER STATUTES... J]... S CONTRACT, -]/["_, TORTS” S41 1g. PORTS”. © UVP “PRISONER [3 LABOR” -3 3" f
11400 State Reapportionment [[1110 Insurance ‘PERSONAL INJURY.""]/ | PERSONAL *| 7 ™ PETITIONS] 710 Fair Labor Standards
0410 Antitrust O120 Marine (4316 Airplane :°]-PROPERTY .: :/[1510 Motions to Act
01430 Banks and Banking C1130 Miller Act 0315 Airplane Product | 370 Other Fraud Vacate Sentence ][1 720 Labor/Mgmt.
11450 Commerce/ACC 1140 Negotiable Instrument Liability 0371 Truth in Lending Habeas Corpus Relations
Rates/etc. 1150 Recovery of 0320 Assault, Libel & [7] 38G Other Personal (9530 General 01730 Labor/Mgmt.
0460 Deponation Overpayment & Slander . Property Damage [10 535 Death Penalty Reporting &
(470 Racketeer Influenced Enforcement of 1330 Fed. Employers’ 174385 propery Damage |[D $40 Mandamus/ Disclosure Act
and Corrupt Judgment 0340 xapty _.|__Product Liability Other 01740 Railway Labor Act
Organizations C1151 Medicare Act nh 3a5 Marine Product DE BANKRUPTCY..)[00 550 Civil Rights 1790 Other Labor
0480 Consumer Credit 0152 Recovery of Defaulted Liability reduc 01422 Appeal 28 USC [10555 Prison Condition Litigation
Oe say Student Loan (Excl, 11380 Motor Vehicle a3 sekg 28 t_-PORFETURE 4 , 0791 Emel. Ret, Inc.
nn elective Service i eterans) 11355 Motor Vehicle it awa : P NA Ye Securty Act
oO Securities/Commodities/|D] 153 Recovery of Product Liability |, USC 15 O1610 Agriculture PROPERTY,RIGHTS a
Exchange Overpayment of 1360 Other Personal lire ACIVIL RIGHTS yaa 01620 Other Food & 0 820 Copyrights
(11875 Customer Challenge 12 Veteran's Benefits Injury O44t Voting Drug 0 830 Patent
USC 3410 1160 Stockholders” Suits 1362 Personal Injury. 0442 Employment (625 Drug Related 01840 Trademark
ws90 Other Statutory Actions [0 190 Other Contract Med Malpractice [2443 Housing/Acco- Seizure of [SOCIAL SECURITY__2
0891 Agricultural Act 0195 Contract Product (00365 Personal Injury- | mmodations Property 2! USC | 861 HIA (1395ff)
0892 Economic Stabilization Liability Product Liability |D 444 Welfare 881 0D 862 Black Lung (923)
Act 0196 Franchise 01368 Asbestos Personal [01445 American with [[1630 Liquor Laws 0863 DIWC/DIWW
(2893 Environmental Matters [C_. REAL;PROPERTY. zd Injury Product Disabilities - O640 R.R. & Frock (405(2)}
(1894 Energy Allocation Act [1 210 Land Condemnation _Linbility Employment £1650 Airline Regs 0 864 SSID Title XVI
0895 Freedomof Info. Act [10220 Foreclosure TE IMMIGRATION 7 ] 01446 American with | 660 Occupational 0865 RSI(405(2))
(1900 Appeal of Fee Determi- [1230 Rent Lease & Ejectment |D 462 Naturalization Disabilities - Safery ‘Health |£-FEDERAL.TAX SUITS “|
nation Under Equal 0240 Torts to Land ppheation Other 0690 Other (1870 Taxes (U.S. Plaintiff
Access to Justice 1245 Tort Product Liability [11463 Habeas Corpus- [7 440 Other Civil or Defendant)
(1950 Constitutionality of (0.290 All Other Reat Property Alien Detainee — Rights C871 IRS-Third Party 26
State Statutes 01465 Ouner Immigration USC 7609
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FOR OFFICE USE ONLY:
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AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

Case Number:

EVO 7642—~

 

 

 

CV-71 (05/08)

CIVIL COVER SHEET

Page | of 2
Case 2:10-cv-07642-JHN-PLA Document1 Filed 10/13/10 Page11o0f11 Page ID#15

ue
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VII(a). IDENTICAL CASES: Has this action been previously filed in this coun and dismissed, remanded or closed? No OYes
If yes, list case number(s): |

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related tb the present case? No O Yes
If yes, list case number(s): |

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) fA. Arise from the same or closely related transactions, happenings, or events, or
OB. Call for determination of the same or substantially related or similar questions of law and fact, or
OC, For other reasons would entail substantial duplication of labor, if heard by different judges: or
OD. Involve the same patent, trademark or copyright, and one of ne factors identified above in a, b or ¢ also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

{a} List the County in this District; Califomia County outside of this District; State if other than California, or Foreign Country, in which EACH named plaintiff resides.
O Check here if the government, its agencies or employees is a named plaintiff. If this box is checked go to item (b).

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

 

Los Angeles

 

 

 

(b} List the County in this District; California County outside of this District, State if other than Califomia, or Foreign Country, in which EACH named defendant resides.
(Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c} :

 

| Ce . eo:
County in this District: * California County outside of this District, State, if other than California; or Foreign Country
Florida

 

 

(c) List the County in this District; California County outside of this District, State if other than Califomia; or Foreign Country, in which EACH clatm arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

| . . . . .
County in this District: * California County outside of this District; State, if other than Califomia, or Foreign Country

 

Los Angeles

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Oblspe Counties
Note: In Jand condemnation cases, use the location of the tract of tand involved

X, SIGNATURE OF ATTORNEY (OR PRO PER): / | Date October 8, 2010

Notice to Counsel/Parties: The CV-71 (JS-44) civieCover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States i in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating 10 Social Security Cases:

Nature of Suit Code = Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIww All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Secunty
Act, as amended. (42 U.S.C. 405{2))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
USC. (g)}

 

CV-7! (05/08) CIVIL COVER SHEET Page 2 of 2

 
